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                     Case 5:19-cv-00202-gwc Document 3 Filed 05/18/20 Page 2 of 2
[EXT]:F
Kimberly Howes [kdhowes420@gmail.com]
Sent:Monday, November 04, 2019 8:40 AM
To: Print & Marketing Services 166


  Nov4,2019
   FACTTV8
Plaintiff brings forth lawsuit against FACTTV8 for the violation of amended rights 1) freedom of speech and
freedom to press.
October 30, 2019 plaintiff reached out to FACTTV8 in regards to recording updates on from their entity.
FACTTV corresponded with plaintiff via Facebook social nitemare and instant messenger. FACTTV
acknowledged plaintiffs request to air a preview to show before plaintiff was to air live on Friday Nov 1,2019.
FACTTV did not create or air a preview.
Previous to this, plaintiff has requested use of equipment as they advertise and been not only refused but
obviously ignored. Several attempts to book with FACTTV has been ignored.
Plaintiff sees this ongoing behavior as blocking her from freely expressing her speech and being prejudice and
biased by media libel. FACTTV has given reason for plaintiff to fear this and to believe it is violating her
constitutional rights.
Plaintiff brings forward lawsuit against FACTTV8 Bellows Falls in the sum of 3.8 Million American CASH
Dollars plus 23.4% interest 7 days per week until settled. plaintiff will seek all reimbursment and compensation
for all hardship to include violated rights, distress, defamation and more.
